Case:17-03283-LTS Doc#:10242-3 Filed:01/21/20 Entered:01/21/20 13:55:29                  Desc:
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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO



In Re: Financial Oversight & Management Board
                                                3:17‐BK‐3283 (LTS)
for Puerto Rico
                                                PROMESA Title III


as representative of

                                                (Jointly Administrated)

The Commonwealth of Puerto Rico, et al.

Debtors




                             NOTICE OF DEFECTIVE PLEADING
                            (Notificación de Documento Defectuoso)


The Clerk of Court has received your pleading on January 13, 2020. However, the deficiencies
listed below have prevented us from filing the same in the case docket. You must submit a
corrected pleading if you want it to form part of the record.



La Secretaría del Tribunal recibió su escrito el 15 de enero del 2020. No obstante, las
deficiencias que abajo se señalan nos impiden aceptarlo y entrarlo en el sumario del caso. Debe
usted someter un escrito debidamente corregido si quiere que el mismo forme parte del
expediente.




                                                                                    Page 1 of 2
Case:17-03283-LTS Doc#:10242-3 Filed:01/21/20 Entered:01/21/20 13:55:29                                                       Desc:
                         Main Document Page 2 of 3
NOTICE OF DEFECTIVE PLEADING
(Notificación de Documento Defectuoso)
3:17‐BK‐3283 (LTS)


                     Pleading is illegible. L.Civ.R. 10
      1
                     (El escrito radicado es ilegible o no cumple con la R.L.Civ. 10)




                     Lacks proper signature. Documents presented to the court in paper
                     require a handwritten signature. L.Civ.R. 11
               X
      2              (Documento no está firmado adecuadamente. Los documentos sometidos en papel tienen que estar firmados
                     a mano. R.L.Civ. 11)




                     PROMESA Cover Sheet for Adversary Proceedings (DPR Modified
                     PROMESA B1040) was not included. L.Bkcy.R. 7003‐1
      3
                     http://www.prd.uscourts.gov/promesa/forms‐attorneys
                     (No se incluyó la Hoja de Trámite para Casos Adversarios (DPR Modified PROMESA B1040).




                     Failure to pay the filing fee in the amount of $400.00. See, L.Cv.R. 3.1(a).
                     Payment shall be made within 24 hours in person at the Clerk’s Office
                     U.S. District Court with copy of the complaint /notice of removal.
      4
                     (Incumplimiento con el pago de la cuota de radicación por la cantidad de $400.00. El pago debe hacerse
                     personalmente dentro de 24 horas en la Secretaría del Tribunal Federal de Distrito adjuntando una copia de
                     la demanda / notificación de remoción.)


                     Other: Please blackout or omit from your documents any personal
                     information such as: medical records, Social Security number, financial
                     account numbers, date of birth, driver’s license or any other personal
                     identifying numbers as per Local Civil Rule 5.2
      5        X
                     (Otro:) Favor de oscurecer u omitir de sus documentos cualquier información personal como: documentos
                     médicos, número de Seguro Social, números de cuentas financieras, fecha de nacimiento, licencia de
                     conducir o cualquier otro número de identificación de acuerdo con la Regla Local Civil 5.2.




                                                                        Date: January 21, 2020

                                                                        MARIA ANTONGIORGI‐JORDAN, ESQ.
                                                                        Clerk of Court

                                                                 By: s/ Marian B. Ramirez Rivera
                                                                     Marian B. Ramirez Rivera
                                                                     Deputy Clerk
sc: to filer with original filing attached

                                                                                                                       Page 2 of 2
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